                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      )
 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )
                                                      ) Case No. 20-cr-10111-RWZ
 CHARLES LIEBER,                                      )
                                                      )
         Defendant.                                   )
                                                      )

  DEFENDANT’S MOTION FOR LEAVE TO FILE EX PARTE AN EXHIBIT TO THE
        OPPOSITION TO THE GOVERNMENT’S MOTION TO COMPEL

        Pursuant to Local Rule 5.4(g) and without government objection, Defendant Charles

Lieber respectfully requests leave of the Court to file ex parte an Exhibit to the Declaration of

Torrey K. Young In Support of Defendant Charles Lieber’s Opposition To The Government’s

Motion To Compel Compliance With A Grand Jury Subpoena. In support of this request,

Defendant’s opposition contains analysis regarding material the government seeks to compel.

The Defendant herein requests to provide the Court with context regarding this analysis by

submitting ex parte a copy of the material identified as at issue in compelling compliance with

the Subpoena. In accordance with Local Rule 5.4(g), Defendant requests leave of the Court to

file this ex parte.
Dated: October 16, 2020                             Respectfully submitted,

                                                    CHARLES LIEBER

                                                    By his attorneys,

                                                      /s/ Torrey K. Young
                                                    Torrey K. Young (BBO #682550)
                                                    Marc L. Mukasey (admitted pro hac vice)
                                                    MUKASEY FRENCHMAN &
                                                    SKLAROFF LLP
                                                    2 Grand Central Tower
                                                    140 East 45th Street, 17th Floor
                                                    New York, New York 10017
                                                    Tel.: (212) 466-6400)
                                                    torrey.young@mfsllp.com
                                                    marc.mukasey@mfsllp.com



                          LOCAL RULE 7.1(a)(2) CERTIFICATION

      Counsel for the government does not object to this Motion. I hereby certify that this
document will be filed ex parte on October 16, 2020.

                                                     /s/ Torrey K. Young
                                                    Torrey K. Young
